  Case 2:21-cv-00678-MWF-AGR Document 59 Filed 12/01/21 Page 1 of 1 Page ID #:560




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     CV 21-678-MWF(AGRx)                                      Dated: December 1, 2021

Title:       Orlando Garcia -v- Flora Bral, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   None Present
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                  None Present

PROCEEDINGS (IN CHAMBERS):                     ORDER TO SHOW CAUSE RE DEFAULT
                                               JUDGMENT

      In light of the Notice of Withdrawal of Motion for Default Judgment [58] entered on
November 30, 2021, the Court VACATES the hearing on the Application [56] set for January
10, 2022.

       The Court sets a hearing on Order To Show Cause Re Dismissal for January 10, 2022
at 11:30 a.m. If a stipulated dismissal is filed prior to this date, the matter will be taken off
calendar and no appearance is needed. All other hearings and deadlines are hereby vacated.




MINUTES FORM 90                                                  Initials of Deputy Clerk     rs
CIVIL ‐ GEN
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